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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                   No. 4:06CR00082-05 JLH

JACKIE E. PORCHAY

                                     OPINION AND ORDER

       Jackie E. Porchay filed a motion for attorney’s fees pursuant to Rule 47 of the Federal Rules

of Criminal Procedure. In that motion, Porchay asserts that the Government’s case against her was

frivolous, in bad faith, and vexatious. Porchay argues that she is therefore entitled to attorney’s fees

and expenses pursuant to the Hyde Amendment, Pub. L. No. 105-119, 111 Stat. 2440, 2519 (1997).

The Government responds that Porchay is not entitled to attorney’s fees and expenses because it had

probable cause to support the indictment against Porchay. For the following reasons, Porchay’s

motion for attorney’s fees and expenses is denied.

                                                   I.

       In the 1997 Hyde Amendment, Congress authorized federal courts to “award to a prevailing

party [in a criminal case], other than the United States, a reasonable attorney’s fee and other

litigation expenses, where the court finds that the position of the United States was vexatious,

frivolous, or in bad faith, unless the court finds that special circumstances make such an award

unjust.” Pub. L. No. 105-119, 111 Stat. 2440, 2519 (1997) (reprinted in 18 U.S.C. § 3006A,

historical and statutory notes); see also United States v. Gilbert, 198 F.3d 1293, 1299-1303 (11th Cir.

1999) (discussing the Hyde Amendment’s legislative history).

       From the plain meaning of the language Congress used, it is obvious that a lot more
       is required under the Hyde Amendment than a showing that the defendant prevailed
       at the pre-trial, trial, or appellate stages of the prosecution. A defendant must show
       that the government’s position underlying the prosecution amounts to prosecutorial
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        misconduct – a prosecution brought vexatiously, in bad faith, or so utterly without
        foundation in law or fact as to be frivolous.

Gilbert, 198 F.3d at 1299. The prevailing party in the criminal proceeding bears the burden of

showing that the Government’s prosecution was either “vexatious, frivolous, or in bad faith.” See

United States v. Bowman, 380 F.3d 387, 391 (8th Cir. 2004).

        Although the statute does not define “vexatious, frivolous, or in bad faith,” other courts have

supplied definitions of those terms. According to the caselaw, a position is “vexatious” for purposes

of the Hyde Amendment if the criminal case was objectively deficient, i.e. it lacked either legal merit

or factual foundation, and the “government’s conduct, when viewed objectively, manifests

maliciousness or an intent to harass or annoy.” United States v. Knott, 256 F.3d 20, 29 (1st Cir.

2001). A position is “frivolous” when the position is “utterly without foundation in law or fact.”

Bowman, 380 F.3d at 390. A position is “in bad faith” if it is “not simply bad judgment or

negligence, but rather . . . the conscious doing of a wrong because of dishonest purpose or moral

obliquity. . . . [I]t contemplates a state of mind affirmatively operating with furtive design or ill will.”

United States v. Isaiah, 434 F.3d 513, 522 (6th Cir. 2006).

                                                    II.

        The Government does not dispute that Porchay is a “prevailing party” for purposes of the

Hyde Amendment. The Government does argue, however, that Porchay’s prosecution was neither

vexatious nor frivolous nor in bad faith. Porchay has presented absolutely no evidence that the

Government’s prosecution of her was in bad faith.               Porchay attempts to characterize the

Government’s failure to return “her property” as evidence of bad faith, but Porchay through her

attorney previously represented to the Court on the record that she has no ownership interest in any

of the property seized. The other evidence of bad faith Porchay offers – the Government’s


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indictment of her “paramour”1 Harold Kelley and the Government’s request that she testify against

him; the Government’s indictment of Jacquelyn Porchay instead of Jackie Porchay, a misnomer; its

subsequent dismissal of that indictment; and the Government’s determination after Porchay’s proffer

that her testimony was of “little value” to the Government – does not even begin to show “bad faith.”

        As for Porchay’s allegation that the prosecution was vexatious and frivolous, both require

a showing that the Government’s position was “without foundation in law or fact.” Bowman, 380

F.3d at 391; see also Isaiah, 434 F.3d at 519 (holding that if defendant is unable to show that the

government’s position was without probable cause, then “it is unnecessary to consider whether the

government prosecuted [the defendant] to harass her”). Porchay has not made that showing.

        Porchay was indicted for conspiring to distribute cocaine hydrochloride and for money

laundering. The evidence presented by the Government in response to Porchay’s motion to suppress

demonstrated that the Government had ample grounds to believe that she committed both crimes.

Porchay held title to a 2001 Chevrolet Monte Carlo that had been customized to secretly transport

large quantities of cocaine and was being driven by Kelley, whom Porchay characterizes as her

“paramour,” when a traffic stop and a search resulted in the discovery of a crack pipe and crack

cocaine in the purse of a passenger, $2,600 in the console, and $206,000 in three separate plastic

bags in the trunk. Kelley admitted that he was en route to Dallas, Texas, to acquire cocaine and

transport the cocaine to Little Rock for distribution. Kelley later pled guilty to conspiring to

distribute cocaine.

        Kelley and Porchay lived together at 10005 Bradley Drive. Subsequent to the above

mentioned traffic stop during Kelley’s trip to Dallas to obtain cocaine for distribution in Little Rock,


        1
        This is Porchay’s term. See Porchay’s Reply to the Government’s Response to her
Motion for Attorney’s Fees (Document #281), p. 7.

                                                   3
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agents searched that residence. As the Court has previously held, there was probable cause to

believe that evidence of illegal activity would be found at the residence of Kelley and Porchay.2

Porchay was listed in public records as owning substantial property – including a new home in a

nearby city, a 2000 Honda Accord, the Monte Carlo, a 2004 Cadillac Escalade, and a Suzuki

motorcycle3 – even though her reported income was slightly more than $13,000 per year. Kelley –

who admitted to trafficking large quantities of cocaine and had possession of hundreds of thousands

of dollars in cash – was not listed in public records as owning any property. In short, Porchay lived

with Kelley who admittedly trafficked in cocaine, who used a vehicle that was titled in Porchay’s

name to transport cocaine, who possessed hundreds of thousands of dollars in cash, and who had no

property titled in his name; while not only she reported little income – slightly more than $13,000

per year – but owned substantial assets. During the search of Porchay and Kelley’s residence, agents

not only found $208,600 in cash, they also found approximately 104.2 grams of marijuana, a .22

Magnum revolver, and a .45 caliber revolver, along with ammunition including .22 Magnum rounds,

.40 caliber rounds, and 9mm rounds. They found a 9mm semi-automatic Beretta in the Honda. This

evidence may or may not be sufficient to prove beyond a reasonable doubt that Porchay was guilty,

but it is more than sufficient to show that the Government had reasonable grounds to believe that she

was involved in the conspiracy to distribute cocaine with Kelley and that she participated in the

laundering of the proceeds of that conspiracy.



       2
         To the extent that Porchay argues that “[t]he Court never determined that probable cause
existed” to search Porchay’s house for evidence of illegal activity, she is just plain wrong.
Document #150 at 12-13.
       3
         At a hearing on Porchay’s motion to return property, Porchay, through her attorney,
denied that she owned the property that she was seeking to have returned. That property included
the Honda and the Suzuki, the title to both of which was in her name.

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       Porchay, in arguing that the Government’s case against her was without any foundation in

fact or law, recycles many of the same arguments that she offered in her motion to suppress. The

Court denied Porchay’s motion to suppress. Although Porchay wishes that the Court had done

otherwise, the Court has already determined, based on the evidence above, that the Government had

probable cause to believe that evidence of the cocaine conspiracy and money laundering would be

found at Porchay’s house. In reviewing the evidence, the Court remains convinced that the

Government had probable cause to search the residence that Porchay and Kelley shared.

                                          CONCLUSION

       The indictment of Porchay was not vexatious, frivolous, or in bad faith. At the end of a

bitterly contested case, the Government dismissed the indictment after the Court denied the

Government’s motion for continuance. The Government moved for a continuance because the

Assistant United States Attorney responsible for this case had been ill and unable to prepare for trial.

The Court denied the motion because a newly indicted co-defendant, Yolanda Summons, was an

officer in the armed forces who was scheduled for deployment in Iraq and needed to have the case

decided so that she and her unit would know her status before deployment. Awarding attorney’s fees

and expenses to Porchay would be unjust. Porchay’s motion for attorney’s fees and expenses is

DENIED. Document #259.

       IT IS SO ORDERED this 30th day of July, 2007.




                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE




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